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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                             for the
                                                  District District
                                              __________   of New ofMexico
                                                                     __________

                  United States of America                      )
                             v.                                 )
                                                                )      Case No.
                        Jose Marquez                            )                 24MJ1727 JMR
                                                                )
                                                                )
                                                                )
                          Defendant(s)


                                              CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of November 8 to November 13, 2024 in the county of                          Bernalillo      in the
                       District of       New Mexico         , the defendant(s) violated:

            Code Section                                                 Offense Description
21 U.S.C. §§ 841(a)(1), (b)(1)(A)(vi)        Possession with Intent to Distribute and Distribution of 400 Grams and More
                                             of Fentanyl (N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide)

21 U.S.C. § 846                              Conspiracy to Commit Drug Trafficking




         This criminal complaint is based on these facts:
Please see the attached affdavit of DEA Special Agent David Zimmerman, which is incorporated by reference and has
been reviewed and approved by Assistant U.S. Attorney Matthew McGinley.




         ✔ Continued on the attached sheet.
         u


                                                                                           Complainant’s signature

                                                                                           SA David Zimmerman
                                                                                            Printed name and title

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Date:             11/26/2024
                                                                                              Judge’s signatur
                                                                                                      signature
                                                                                                             re

City and state:                  Albuquerque, New Mexico                 Jennifer Rozzoni, United States Magistrate Judge
                                                                                            Printed name and title
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                                          24MJ1727 JMR
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